IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF TENNESSEE

NASHVILLE DIVISION
UNITED STATES OF AMERICA, )
)
Plaintiff, ) No. 3 :l 1-00020~02
) Senior Judge Haynes
v. )
)
AUSTIN MICHAEL EVANS, )
)
Defendant. )
0 R D E R

Pursuant to 28 U.S.C. § 294(b), the undersigned is unable or unwilling to undertake this
matter. Accordingly, l hereby RECUSE myself and return this case to the Clerk of the Court for
reassignment to another judge.

lt is so ORDERED.

ENTERED this the /_ day Of March 2016

\L.…/

William J Ha ne
Senior United St es District Judge

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